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                       IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,

       Plaintiff,

vs.                                                                          No. CR 12-3182 JB

JEROME ECKSTEIN,

       Defendant.

                         MEMORANDUM OPINION AND ORDER

       THIS MATTER comes before the Court on Defendant Jerome Eckstein’s Formal

Objections to the Presentence Report, filed May 26, 2015 (Doc. 929)(“Objections”). The Court

held a sentencing hearing on September 1, 2015. The primary issues are: (i) whether the “credits

against loss” provision found in the commentary to U.S.S.G. § 2B1.1 should apply in this case,

reducing the loss amount to take into account the money Defendant Jerome Eckstein paid back

prior to his arrest; (ii) whether the Court should apply a 6-level enhancement under U.S.S.G. §

2S1.1(b)(1), which applies when a defendant “knew or believed that any of the laundered funds

were the proceeds of, or were intended to promote (i) an offense involving . . . distribution of a

controlled substance”; and (iii) whether the Court should apply a 2-level enhancement under

U.S.S.G. § 2S1.1(b)(3) for “sophisticated laundering.”      The Court will overrule Eckstein’s

objection to the failure in the Presentence Investigation Report (dated June 11, 2015), re-

disclosed June 11, 2015, to apply the “credits and loss” provision found in the commentary to §

2B1.1. The Court will overrule Eckstein’s objection and impose a 6-level enhancement under §

2S1.1(b)(1), because the Court concludes that Plaintiff United States of America has established

by a preponderance of the evidence that Eckstein knew or believed that the laundered funds were
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drug proceeds, or that they were represented to be drug proceeds. Finally, the Court will not

apply a 2-level enhancement under § 2S1.1(b)(3) for “sophisticated laundering.”

                                 FACUTAL BACKGROUND

       The Court takes its facts from the PSR, which the United States Probation Office

(“USPO”) prepared. In June, 2011, the Federal Bureau of Investigation (“FBI”) initiated an

investigation code-named Operation Rain Check into co-Defendant Christopher Roybal, who

was the sole target. See PSR ¶ 11, at 8. A Confidential Human Source (“CHS-1”) had identified

C. Roybal as someone who was selling kilograms of cocaine in the Albuquerque, New Mexico,

Metropolitan area.    See PSR ¶ 12, at 8-9.       “The FBI Safe Streets Task Force, through

investigation of C. Roybal, identified C. Roybal as a cocaine distributor throughout the state of

New Mexico.” PSR ¶ 12, at 8-9. The FBI conducted three separate one-kilogram purchases of

cocaine and a controlled purchase of eight ounces of cocaine, and numerous multi-pound

purchases of high-grade marijuana. See PSR ¶ 12, at 9.

       The CHS-1 informed agents that C. Roybal was one of the most substantial
       cocaine dealers in Northern and Central New Mexico. Based on statements made
       by C. Roybal to the CHS-1, C. Roybal was distributing approximately 15
       kilograms of cocaine each week. C. Roybal also informed the CHS-1 that he was
       distributing high grade marijuana. C. Roybal informed the CHS-1 that he was
       generating $60,000 in cocaine profits on a monthly basis.

PSR ¶ 12, at 9. The investigation identified C. Roybal as the leader of the C. Roybal Drug

Trafficking Organization (“C. Roybal DTO”), as he controlled the distribution of money flow on

the C. Roybal DTO’s behalf.       See PSR ¶ 12, at 9.      The investigation revealed nineteen

individuals were involved in the C. Roybal DTO in various capacities and roles, see PSR ¶ 11, at

8, including Eckstein, who laundered the C. Roybal DTO’s drug proceeds through his car wash

and real estate business, see PSR ¶ 20-44, at 13-20.




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                             PROCEDURAL BACKGROUND

       On September 9, 2014, a sixty-three-Count Second Superseding Indictment was filed in

the United States District Court for the District of New Mexico, charging Eckstein with the

following: (i) two counts of Conspiracy to Launder Monetary Instruments under 18 U.S.C. §

1956(a)(1)(A)(i) and 18 U.S.C. 1956(h) (Counts 38 and 39); and (ii) one count of Laundering of

Monetary Instruments and Aiding and Abetting under 18 U.S.C. §§ 1956(a)(3)(B) and 2 (Count

40). On March 5, 2015, Eckstein pled guilty to Count 40, which charged him with Laundering

of Monetary Instruments and Aiding and Abetting, in violation of 18 U.S.C. § 1956(a)(3)(B) and

2. See Plea Agreement, filed March 5, 2015 (Doc. 820)(“Plea Agreement”). In the Plea

Agreement, the parties recommend, among other things:

       a. The Defendant and the United States have made an AGREEMENT pursuant
          to the Federal Rule of Criminal Procedure 11(c)(1)(C), that a sentence of up to
          20 months imprisonment is the appropriate disposition in this case. This
          agreement takes into account the Defendant’s acceptance of responsibility.
          The remaining components of the Defendant’s sentence, including but not
          limited to any fine or restitution and the length and conditions of supervised
          release, shall be imposed by the Court after the presentation of evidence
          and/or argument by the parties.

       b. With respect to the Sentencing Guidelines, the United States and the
          Defendant agree that USSG § 2S1.1(a)(2) governs the base level in this
          matter. The United States and the Defendant further agree that the loss
          amount under the table contained in USSG § 2B1.1 should be at least $30,000,
          but less than $70,000. Defendant retains the right to argue at sentencing that
          credit against loss in USSG § 2B1.1, commentary 3(e) applies to the facts.
          The United States retains the right to argue against such credit.

Plea Agreement at 6-7. The Plea Agreement also states the following regarding Eckstein’s

appellate rights: “The Defendant agrees to waive these rights and to plead guilty to Count 40 of

the second superseding indictment, charging a violation of 18 U.S.C. §§ 1956(a)(3)(B), that




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being Laundering of Monetary Instruments.” Plea Agreement at 2. The Court held a sentencing

hearing on September 1, 2015.

                    RELEVANT LAW REGARDING THE GUIDELINES

       In United States v. Booker, 543 U.S. 220 (2005), the Supreme Court of the United States

of America severed the mandatory provisions from the Sentencing Reform Act, Pub. L. No. 98-

473, 98 Stat. 1976, thus making Guidelines sentencing ranges effectively advisory. In excising

the two sections, the Supreme Court left the remainder of the Act intact, including 18 U.S.C. §

3553: “Section 3553(a) remains in effect, and sets forth numerous factors that guide sentencing.

Those factors in turn will guide appellate courts, as they have in the past, in determining whether

a sentence is unreasonable.” United States v. Booker, 543 U.S. at 261.

       Congress has directed sentencing courts to impose a sentence “sufficient, but not greater

than necessary” to comply with four statutorily defined purposes enumerated in 18 U.S.C.

§ 3553(a)(2):

       (A)      to reflect the seriousness of the offense, to promote respect for the law,
                and to provide just punishment for the offense;

       (B)      to afford adequate deterrence to criminal conduct;

       (C)      to protect the public from further crimes of the defendant; and

       (D)      to provide the defendant with needed educational or vocational training,
                medical care, or other correctional treatment in the most effective
                manner . . . .

18 U.S.C. § 3553(a)(2)(A)-(D).

       [A] defendant who has been found guilty of an offense described in any Federal
       statute . . . shall be sentenced in accordance with the provisions of this chapter so
       as to achieve the purposes set forth in subparagraphs (A) through (D) of section
       3553(a)(2) to the extent that they are applicable in light of all the circumstances of
       the case.




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18 U.S.C. § 3551. To achieve these purposes, § 3553(a) directs sentencing courts to consider: (i)

the Guidelines; (ii) the nature of the offense and the defendant’s character; (iii) the available

sentences; (iv) a policy favoring uniformity in sentences for defendants who commit similar

crimes; and (v) the need to provide restitution to victims. See 18 U.S.C. § 3553(a)(1), (3)-(7).

       Although the Guidelines are no longer mandatory, both the Supreme Court and the Tenth

Circuit have clarified that, while the Guidelines are one of several factors which § 3553(a)

enumerates, they are entitled to considerable deference. See Rita v. United States, 551 U.S. 338,

349 (2007)(“The Guidelines as written reflect the fact that the Sentencing Commission examined

tens of thousands of sentences and worked with the help of many others in the law enforcement

community over a long period of time in an effort to fulfill [its] statutory mandate.”); United

States v. Cage, 451 F.3d 585, 593 (10th Cir. 2006)(describing the Guidelines as more than “just

one factor among many”). They are significant, because “the Guidelines are an expression of

popular political will about sentencing that is entitled to due consideration . . . [and] represent at

this point eighteen years’ worth of careful consideration of the proper sentence for federal

offenses.” United States v. Cage, 451 F.3d at 593 (internal quotation marks omitted). A

reasonable sentence is one that also “avoid[s] unwarranted sentence disparities among

defendants with similar records who have been found guilty of similar conduct.” 18 U.S.C. §

3553(a). See United States v. Booker, 543 U.S. at 261-62.

       The Tenth Circuit has “joined a number of other circuits in holding that a sentence within

the applicable Guidelines range is presumptively reasonable.” United States v. Terrell, 445 F.3d

1261, 1264 (10th Cir. 2006). This presumption, however, is an appellate presumption and not

one that the trial court can or should apply. See Rita v. United States, 551 U.S. at 351; Gall v.




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United States, 552 U.S. 38, 46-47 (2007); Kimbrough v. United States, 552 U.S. 85, 90-91

(2007). Instead, the trial court must undertake the § 3553(a) balancing of factors without any

presumption in favor of the Guidelines sentence. See Rita v. United States, 551 U.S. at 351; Gall

v. United States, 552 U.S. at 46-47; Kimbrough v. United States, 552 U.S. at 90-91.

                While the Supreme Court’s decision in United States v. Booker has given
       the sentencing court discretion that it did not have earlier, the sentencing court’s
       first task remains to accurately and correctly determine the advisory-guideline
       sentence. Thus, before the sentencing court takes up a defendant’s Booker
       arguments, the sentencing court must first determine whether the defendant is
       entitled to downward departures. The sentencing court may, however, also use
       these same departure factors in the Booker calculus, even if the court does not
       grant a downward departure.

United States v. Apodaca-Leyva, No. CR 07-1479 JB, 2008 WL 2229550, at *6 (D.N.M. Feb.

13, 2008)(Browning, J.). The Supreme Court recognized, however, that the sentencing judge is

“in a superior position to find facts and judge their import under § 3553(a) in each particular

case.” Kimbrough v. United States, 552 U.S. at 89. Applying § 3553(a)’s factors, the Court has

found that the case of an illegal immigrant who re-enters the United States to provide for his two

children and two siblings was not materially differentiated from other re-entry cases, and, thus,

no variance from the Guidelines sentence was warranted. See United States v. Alemendares-

Soto, No. CR 10-1922 JB, 2010 WL 5476767, at *12 (D.N.M. Dec. 14, 2010)(Browning, J.). On

the other hand, in United States v. Jager, No. CR 10-1531 JB, 2011 WL 831279 (D.N.M. Feb.

17, 2011)(Browning, J.), although the defendant’s military service was not present to an unusual

degree and, thus, did not warrant a departure, the Court found that a variance was appropriate,

because the defendant’s military service was “superior and uniformly outstanding,” as the

defendant appeared to have been “trustworthy[] and dedicated, and he served with distinction.”

2011 WL 831279, at *14.




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 LAW REGARDING THE BURDEN OF PROOF REQUIRED FOR ENHANCEMENTS
                     UNDER THE GUIDELINES

       In Apprendi v. New Jersey, 530 U.S. 466 (2000), the Supreme Court reaffirmed the

principle that it is permissible for sentencing judges “to exercise discretion -- taking into

consideration various factors relating both to offense and offender -- in imposing judgment

within the range prescribed by statute.” 530 U.S. at 481. The Supreme Court cautioned,

however, that the Constitution of the United States of America limits this discretion and its Sixth

Amendment requires that, “[o]ther than the fact of a prior conviction, any fact that increases the

penalty for a crime beyond the prescribed statutory maximum must be submitted to a jury, and

proved beyond a reasonable doubt.” Apprendi v. New Jersey, 530 U.S. at 490. In Blakely v.

Washington, 542 U.S. 296 (2004), the Supreme Court elaborated on its holding in Apprendi v.

New Jersey, stating that the “statutory maximum for Apprendi purposes is the maximum

sentence a judge may impose solely on the basis of the facts reflected in the jury verdict or

admitted by the defendant.” 542 U.S. at 303 (emphasis omitted)(citations omitted)(internal

quotation marks omitted). In United States v. Booker, the Supreme Court held that, because the

sentencing guidelines are no longer mandatory, “Apprendi does not apply to the present

advisory-Guidelines regime.” United States v. Ray, 704 F.3d 1307, 1314 (10th Cir. 2013).

See United States v. Booker, 543 U.S. at 259 (“[W]ithout this provision [of the Guidelines

statute] -- namely, the provision that makes the relevant sentencing rules mandatory and imposes

binding requirements on all sentencing judges -- the statute falls outside the scope of Apprendi’s

requirement.” (alterations omitted)(internal quotations marks omitted)). The Supreme Court has

recently held that the requirements in Apprendi v. New Jersey apply to facts that increase a




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defendant’s mandatory minimum sentence. See Alleyne v. United States, 133 S. Ct. 2151, 2155

(2013).

          In United States v. Magallanez, 408 F.3d 672 (10th Cir. 2005), the Tenth Circuit held that

Blakely v. Washington and United States v. Booker had not changed the district court’s

enhancement findings analysis. See 408 F.3d at 684-85. United States v. Magallanez involved

plain error review of a drug sentence in which a jury found the defendant, Magallanez, guilty of

conspiracy to possess with intent to distribute and to distribute methamphetamine. See 408 F.3d

at 676. As part of its verdict, the jury, through a special interrogatory, attributed to the defendant

50-500 grams of methamphetamine; at sentencing, however, the judge -- based on testimony of

the various amounts that government witnesses indicated they had sold to the defendant --

attributed 1200 grams of methamphetamine to the defendant and used that amount to increase his

sentence under the Guidelines. See United States v. Magallanez, 408 F.3d at 682. The district

court’s findings increased the defendant’s Guidelines sentencing range from 63 to 78 months to

121 to 151 months. See United States v. Magallanez, 408 F.3d at 682-83. The Tenth Circuit

stated that, both before and after Congress’ passage of the Sentencing Reform Act, “sentencing

courts maintained the power to consider the broad context of a defendant’s conduct, even when a

court’s view of the conduct conflicted with the jury’s verdict.” United States v. Magallanez, 408

F.3d at 684.      Although United States v. Booker made the Guidelines ranges “effectively

advisory,” the Tenth Circuit in United States v. Magallanez reaffirmed that “district courts are

still required to consider Guideline ranges, which are determined through application of the

preponderance standard, just as they were before.” 408 F.3d at 685 (citation omitted).




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       The Tenth Circuit, while “recognizing ‘strong arguments that relevant conduct causing a

dramatic increase in sentence ought to be subject to a higher standard of proof,’” has “long held

that sentencing facts in the ‘ordinary case’ need only be proven by a preponderance.” United

States v. Olsen, 519 F.3d 1096, 1105 (10th Cir. 2008)(quoting United States v. Washington, 11

F.3d 1510, 1516 (10th Cir. 1993)).1 “[T]he application of an enhancement . . . does not implicate

the Supreme Court’s holding in Apprendi v. New Jersey.” United States v. Reyes-Vencomo, No.

CR 11-2563 JB, 2012 WL 2574810, at *3 (D.N.M. June 26, 2012)(Browning, J.). The Tenth

Circuit applies Apprendi v. New Jersey’s requirement that a fact be submitted to a jury only

where the fact would increase a defendant’s sentence “above the statutory maximum permitted


       1
         Although the Tenth Circuit stated in United States v. Washington that “the issue of a
higher than a preponderance standard is foreclosed in this circuit,” 11 F.3d at 1516, the Tenth
Circuit has since classified its holding as leaving “open the possibility that due process may
require proof by clear and convincing evidence before imposition of a Guidelines enhancement
that increases a sentence by an ‘extraordinary or dramatic’ amount,” United States v. Ray, 704
F.3d at 1314 (quoting United States v. Olsen, 519 F.3d at 1105). See United States v. Olsen, 519
F.3d at 1105 (affirming the use of the preponderance-of-the-evidence standard for sentencing
facts that increase a sentence in the “‘ordinary case’” (quoting United States v. Washington, 11
F.3d at 1516)). The Tenth Circuit has not yet found that an “extraordinary or dramatic” instance
warrants a higher standard of proof for certain facts that enhance a defendant’s sentence. United
States v. Olsen, 519 F.3d at 1105 (explaining that it need not determine whether a higher
standard of proof is required to sentence a defendant for committing perjury in relation to a grand
jury investigation, because the enhancement did not require the district court to determine that
the defendant committed murder, but only that he obstructed a homicide investigation). See
United States v. Constantine, 263 F.3d 1122, 1125 n.2 (10th Cir. 2001)(affirming a
preponderance-of-the-evidence standard for facts that enhance a defendant’s offense level 4
levels); United States v. Valdez, 225 F.3d 1137, 1143 n.2 (10th Cir. 2000)(rejecting the
defendant’s argument that a dramatic increase in a sentence because of a sentencing judge’s
finding of additional amounts of methamphetamine associated with acquitted charges entitled the
defendant to a clear-and-convincing evidence standard at sentencing, and noting that the Tenth
Circuit “foreclosed by binding precedent” this argument); United States v. Washington, 11 F.3d
at 1516 (finding that a district court need not find by any more than a preponderance of the
evidence the amount of cocaine a defendant distributed, even though its findings increased the
defendant’s sentence from twenty years to consecutive forty-year terms).




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by the statute of conviction.” United States v. Price, 400 F.3d 844, 847 (10th Cir. 2005).

Accord United States v. Ray, 704 F.3d at 1314. A defendant may assert an error under Apprendi

v. New Jersey only where the fact at issue increased his sentence beyond the statutory maximum.

See United States v. O’Flanagan, 339 F.3d 1229, 1232 (10th Cir. 2003)(holding that a defendant

could not assert an error under Apprendi v. New Jersey, because “his sentence does not exceed

the statutory maximum”); United States v. Hendrickson, No. 12-5016, 2014 WL 6679446, at *6

(10th Cir. Nov. 25, 2014)(unpublished)2(holding that, after Alleyne v. United States, “[i]t is well-

established that sentencing factors need not be charged in an indictment and need only be proved

to the sentencing judge by a preponderance of the evidence”). The Court has noted:

       The Court explained that, although the decision of the Supreme Court of the
       United States in Alleyne v. United States, . . . 133 S. Ct. 2151 . . . (2013), expands
       the rule from Apprendi v. New Jersey, 530 U.S. 466 . . . (2000)(holding that facts
       that increase the maximum sentence a defendant faces must be proven to a jury
       beyond a reasonable doubt), to cover facts that increase the mandatory minimum
       sentence, as well as the maximum sentence, it does not prohibit district judges
       from continuing to find advisory sentencing factors by a preponderance of the
       evidence. See [United States v. Sangiovanni, No. CR 10-3239 JB,] 2014 WL
       4347131, at *22-26 [(D.N.M. Aug. 29, 2014)(Browning, J.)].


       2
         United States v. Hendrickson is an unpublished opinion, but the Court can rely on an
unpublished opinion to the extent its reasoned analysis is persuasive in the case before it. See
10th Cir. R. 32.1(A), 28 U.S.C. (“Unpublished decisions are not precedential, but may be cited
for their persuasive value.”). The Tenth Circuit has stated:

       In this circuit, unpublished orders are not binding precedent, . . . and we have
       generally determined that citation to unpublished opinions is not favored.
       However, if an unpublished opinion or order and judgment has persuasive value
       with respect to a material issue in a case and would assist the court in its
       disposition, we allow a citation to that decision.

United States v. Austin, 426 F.3d 1266, 1274 (10th Cir. 2005). The Court finds that United
States v. Hendrickson has persuasive value with respect to a material issue, and will assist the
Court in its disposition of this MOO.




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United States v. Cervantes-Chavez, No. CR 14-0259 JB, 2014 WL 6065657, at *14 (D.N.M.

Nov. 3, 2014)(Browning, J.).

                                          ANALYSIS

       The Court will overrule Eckstein’s objection to the PSR’s failure to apply the “credits and

loss” provision found in the commentary to § 2B1.1.          The Court will impose a 6-level

enhancement under § 2S1.1(b)(1), because the Court concludes that the United States has

established by a preponderance of the evidence that Eckstein knew or believed that the laundered

funds were drug proceeds, or that they were represented to be drug proceeds. Finally, the Court

will not apply a 2-level enhancement under § 2S1.1(b)(3) for “sophisticated laundering.”

I.     THE COURT WILL OVERRULE ECKSTEIN’S OBJECTION TO THE PSR’S
       FAILURE TO APPLY THE “CREDITS AGAINST LOSS” PROVISION FOUND
       IN THE COMMENTARY TO U.S.S.G. § 2B1.1.

       The Court will overrule Eckstein’s objection to the PSR’s failure to apply the “credits

against loss” provision found in the commentary to U.S.S.G. § 2B1.1. The parties agree that

U.S.S.G. § 2S1.1 controls the calculation of Eckstein’s offense level. Regarding the base offense

level, § 2S1.1(a)(2) provides “8 plus the number of offense levels from the table in § 2B1.1

(Theft, Property Destruction, and Fraud) corresponding to the value of the laundered funds.”

U.S.S.G. § 2S1.1(a)(2). The table in § 2B1.1 establishes by how much an offense level should

be increased, by loss, so long as the loss is greater than $5,000.00. See U.S.S.G. § 2B1.1.

Eckstein asserts that Note 3(E) of the commentary to § 2B1.1 (the “credits and loss provision”)

should apply in this case, adjusting the loss amount downward to take into account the money

Eckstein returned to the undercover employee (“UCE”) prior to his arrest. See Objections at 1-2.

Because Eckstein returned the entire $50,000.00 to the United States before his arrest,




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application of Note 3(E) would result in an increase of zero dollars under the table in § 2B1.1.

The Court concludes that this argument fails for three reasons.

       First, a plain reading of § 2S1.1’s plain language counsels against the application of the

“credits and loss provision” in Note 3(E) of § 2B1.1. Section 2S1.1 states that § 2B1.1 should be

referenced to determine the offense level increase based on the “value of the laundered funds”

rather than the “loss” at issue in this case. U.S.S.G. § 2S1.1. The United States persuasively

argues that the Sentencing Commission likely cross-referenced the monetary figures and offense

levels in § 2B1.1 to “not recreate the same exact table corresponding to the value of the

laundered funds.” United States’ Response to Defendant Jerome Eckstein’s Formal Objections

to the Presentence Report and Sentencing Memorandum, filed June 19, 2015 (Doc.

967)(“Response”). Additionally, under Eckstein’s interpretation of § 2B1.1, those defendants

involved in successful money laundering schemes would receive lighter sentences. For example,

a defendant who successfully accepts, “cleans,” and returns $100,000.00 in drug proceeds would

not receive an enhancement under § 2B1.1. By contrast, a defendant who accepts, but is not able

to clean $100,000.00 in drug proceeds, would receive an enhancement under § 2B1.1. The

Sentencing Commission cannot reasonably have intended to reward effective money laundering

via the “credits and loss provision.” As reflected in § 2S1.1, therefore, the table in § 2B1.1 is

merely consulted as a cross-reference to look for the “value of the laundered funds” and not to

determine the “loss” at issue in this case. Here, the value of the laundered funds was $50,000.00.

The Probation Office, therefore, correctly assessed a 6-level increase for the value of the funds

being greater than $30,000.00, but less than $70,000.00.




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       Second, as the United States notes, even if the “credits and loss provision” in Note 3(E)

of § 2B1.1 were applied, the provision’s language forecloses its application in this case. See

Response at 21-22. When sentencing a defendant pursuant to § 2B1.1, as opposed to § 2S1.1, a

court must determine the amount of loss at issue. See United States v. Garcia, 939 F. Supp. 2d

1155, 1198 (D.N.M. 2013)(Browning, J.). Loss is “the greater of actual or intended loss.”

U.S.S.G. § 2B1.1. cmt. n.3(A)(i). As the United States observes, the commentary notes further

define potential offsets against the loss amount. See Response at 21-22. The “credits against

loss” provision allows offsets for

       [t]he money returned, and the fair market value of the property returned and the
       services rendered by the defendant or other persons acting jointly with the
       defendant, to the victim before the offense was detected. The time of the
       detection of the offense is the earlier of (I) the time the offense was discovered by
       a victim or government agency; or (II) the time the defendant knew or reasonably
       should have known that the offense was detected or about to be detected by a
       victim or government agency.

U.S.S.G. § 2D1.1(b)(1), cmt. n.3(E)(i). Eckstein asserts that, because he repaid his portion of the

money to the United States “before he was arrested and before he detected any criminal

investigation,” the money he repaid should be offset against the loss amount for which he would

otherwise be responsible under § 2B1.1. Objections at 2. If the credit and loss provision applies,

however, it applies only in cases where there is repayment of money before the offense is

detected. Additionally, the provision defines “detection” as the earlier of when the government

or victim discovers the offense, or when the defendant knew or reasonably should have known it

was detected. U.S.S.G. § 2D1.1(b)(1), cmt. n.3(E)(i). Here, because there was a sting operation

involving CHS-1 and UCE, there was never a time when Eckstein was engaged in the money

laundering before the government was aware of it.




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       Finally, in terms of policy, allowing application of the “credits and loss provision” in

Note 3(E) of § 2B1.1 would not reflect a money laundering scheme’s full impact. The impact of

a particular money laundering scheme is determined partly by looking at the amount of the funds

laundered, in contrast to sentencing under § 2B1.1, which is concerned primarily with the “loss.”

As the United States observes, “[t]here is an intrinsic difference between a defendant who

laundered $10 of drug money and then repaid it, and a defendant who laundered $1,000,000 and

repaid it.” Response at 22. To account for this difference between money laundering on the one

hand, and typical offenses involving theft under § 2B1.1, § 2S1.1 measures harm by looking at

the value of the money laundered rather than the “loss” to any particular party.

       For these reasons, the Court overrules Eckstein’s objection and applies the 6-level

enhancement for the value of the funds being greater than $30,000.00, but less than $70,000.00.

II.    THE COURT WILL IMPOSE A 6-LEVEL ENHANCEMENT UNDER §
       2S1.1(b)(1), BECAUSE THE COURT CONCLUDES THAT THE UNITED
       STATES HAS ESTABLISHED BY A PREPONDERANCE OF THE EVIDENCE
       THAT ECKSTEIN KNEW OR BELIEVED THAT THE LAUNDERED FUNDS
       WERE DRUG PROCEEDS, OR THAT THEY WERE REPRESENTED TO BE
       DRUG PROCEEDS.

       The Court will overrule Eckstein’s objection to the PSR’s application of a 6-level

enhancement under § 2S1.1(b)(1), which applies when a defendant “knew or believed that any of

the laundered funds were the proceeds of, or were intended to promote (i) an offense involving . .

. distribution of a controlled substance.”    U.S.S.G. § 2S1.1(b)(1)(i).    Eckstein argues that,

because he did not plead guilty to a count of conspiracy to commit money laundering, this

enhancement should not apply. See Objections at 4. The United States correctly notes that, for

an enhancement under § 2S1.1(b)(1) to apply, the United States need merely “establish by a

preponderance of the evidence that the defendant knew or believed that the laundered funds were




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drug proceeds (or represented to be, as this was a sting operation).” Response at 22-23. The

United States has met its burden.

       First, Eckstein knew or believed that C. Roybal and CHS-1 were drug dealers. Eckstein

and C. Roybal were in close contact, which included traveling out of state together. See PSR ¶

43, at 19. Agents interviewed Eckstein’s wife, Julie Eckstein, post-arrest. See PSR ¶ 43, at 19.

       She acknowledged C. Roybal gave them Southwest Airlines buddy passes which
       were found at the residence. Mrs. Eckstein also stated she and her husband flew
       with C. Roybal to Denver on buddy passes to attend a Denver Nuggets basketball
       game. C. Roybal paid for everything, including hotel, basketball tickets and food
       with cash. She added their family also traveled to Disneyland on buddy passes
       from C. Roybal.

PSR ¶ 43, at 19. J. Eckstein also “informed agents she was aware C. Roybal was a drug dealer

from Las Vegas, New Mexico.” PSR ¶ 43, at 19. Eckstein told CHS-1 that all the money had to

go through Eckstein because C. Roybal did not have a checking account, although he had the

ability to round up money quickly. See Transcript of Recorded Conversation Between CHS-1

and Eckstein (Clip 2) at 3, filed June 19, 2015 (Doc. 967-14). Eckstein told CHS-1 that he had

done many real estate deals with C. Roybal and, in CHS-1’s initial meeting with Eckstein, CHS-

1 asked Eckstein if he knew what C. Roybal did, and Eckstein affirmed. See Transcript of

Recorded Conversation Between CHS-1 and Eckstein (Clip 1) at 2-3, filed June 19, 2015 (Doc.

967-13).

       The initial meeting between CHS-1, C-Roybal, and Eckstein at Little Anita’s Restaurant

on November 3, 2011 buttressed Eckstein’s knowledge or belief about C. Roybal and CHS-1’s

activities. See PSR ¶ 21, at 13. At the meeting, Eckstein discussed his unique ability, because of

his large real estate holdings and business accounts, to infuse large cash deposits into his

businesses, clean the money up, and make it legitimate income. See PSR ¶ 21, at 13. CHS-1




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asked Eckstein if he knew what C. Roybal did, and, again, Eckstein affirmed. See Transcript of

Conversation Between CHS-1, Eckstein, and C. Roybal at Little Anita’s (Clip 1) at 13-14, filed

June 19, 2015 (Doc. 967-5). After the meeting, CHS-1 confirmed with C. Roybal that Eckstein

knew they were drug dealers. See Transcript of Conversation Between CHS-1, Eckstein, and C.

Roybal at Little Anita’s (Clip 2) at 1, filed June 19, 2015 (Doc. 967-6)(“Little Anita’s Clip 2”).

C. Roybal affirmed, but they then discussed how it is not something they advertised. Little

Anita’s Clip 2 at 1.

       Second, Eckstein also had knowledge or believed that the UCE was a drug dealer.

Eckstein entered the initial meeting with the UCE knowing that CHS-1 had a “guy” interested in

a car wash. PSR ¶¶ 24-25, at 13-14. In that meeting, the UCE expressed concern about the

investment being traced back to him. See PSR ¶ 25, at 14. That Eckstein had knowledge or

believed that CHS-1 and C-Roybal were drug dealers, and that these two individuals then

introduced him to another potential investor who was concerned about money being traced back

to him, is strong evidence that Eckstein knew or believed that the UCE was a drug dealer.

Further, later in a telephone call on January 16, 2012, the UCE told Eckstein that his money was

“dirty.” PSR ¶ 27, at 14. Later, the UCE met up with C. Roybal to provide Eckstein with the

money. See PSR ¶ 29, at 14. Before Eckstein arrived, C. Roybal explained to the UCE that

Eckstein got “kind of freaked out” by the January 16, 2012, call, in which the UCE told Eckstein

that the money was “dirty.” PSR ¶ 29, at 14. “C. Roybal and the UCE discussed smoothing

things over with Eckstein. C. Roybal told the UCE, for example, that C. Roybal is a ‘gambler,’

but that Eckstein did not ask where the money comes from.” PSR ¶ 29, at 14. C. Roybal




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explained that the only thing Eckstein needed to know was how much there was to invest. See

PSR ¶ 29, at 14.

        Later, once Eckstein arrived, “C. Roybal brought up how the UCE said something that

made Eckstein feel uncomfortable (i.e. referring to the money as ‘dirty’).” PSR ¶ 30, at 14. C.

Roybal explained that Eckstein was a legitimate person, and talked about how C. Roybal and the

UCE had their own businesses and were looking to invest profits. See PSR ¶ 29, at 14. Eckstein

discussed his career and his desire for everything to be “up front and legit,” but went on to state

that “now my people that invest, they don’t really tell me where it’s coming from because I don’t

really care.” PSR ¶ 30, at 14. UCE then provided Eckstein with a duffle bag filled with cash.

See PSR ¶ 31, at 15-16. Further, in a December 7, 2012, conversation between CHS-1 and

Eckstein, “CHS-1 explained to Eckstein the hierarchy of the UCE and CHS-1 business, telling

Eckstein that there is a ladder with one ‘big dude that runs the whole operation,’ and then

explained that the UCE was below that person, and that CHS-1 is further down the ladder.” PSR

¶ 38, at 17. Finally, Eckstein admitted that “there was a high probability that the CHS and the

UCE were holding themselves to be drug dealers and the money provided to him by the UCE

was proceeds of drug trafficking, however, he deliberately blinded himself to the existence of

those facts . . . ” PSR ¶ 44, at 19.

        In sum, the Court will overrule Eckstein’s objection to the PSR’s application of a 6-level

enhancement under § 2S1.1(b)(1), because the United States has established by a preponderance

of the evidence that Eckstein knew or believed that the laundered funds were drug proceeds (or

were represented to be because this was a sting operation).




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III.     THE COURT WILL SUSTAIN ECKSTEIN’S OBJECTION TO THE PSR’S
         APPLICATION OF A 2-LEVEL ENHANCEMENT UNDER § 2S1.1(b)(3) FOR
         “SOPHISTICATED LAUNDERNG.”

         The Court will sustain Eckstein’s objection to the PSR’s application of a 2-level

enhancement under § 2S1.1(b)(3) for “sophisticated laundering.” Under § 2S1.1(b)(3), a 2-level

enhancement will be applied to the defendant’s offense level if: (i) the defendant is convicted of

violating 18 U.S.C. § 1956; and (ii) the offense involved sophisticated money laundering.

U.S.S.G. § 2S.1.1(b)(3). The application note to § 2S1.1 defines “sophisticated laundering” as

“complex or intricate offense conduct pertaining to the execution or concealment of the 18

U.S.C. § 1956 offense,” and it typically involves the use of “fictitious entities,” “shell

corporations,” “two or more levels (i.e. layering) of transactions,” or “offshore financial

accounts.” U.S.S.G. § 2S1.1, cmt. n.5(A). Eckstein asserts that there is insufficient evidence

that the offense involved sophisticated laundering.

         In United States v. Landwer, 640 F.3d 769 (7th Cir. 2011)(per curiam), the United States

Court of Appeals for the Seventh Circuit noted that “application of th[is] adjustment ‘is proper

when the conduct shows a greater level of planning or concealment than a typical fraud of its

kind.”    640 F.3d at 771 (quoting United States v. Knox, 624 F.3d 865, 871 (7th Cir.

2010)(Williams, J.)). In this case, Eckstein argues, see Objections at 5-6, and the United States

concedes that Eckstein did not own, list, or create fictitious entities as part of the money

laundering scheme, see Response at 23. Rather, the UCE provided Eckstein with the names of

apparently fictitious entities, which Eckstein paid with checks that his own legitimate companies

issued. The UCE’s use of fictitious entities cannot form the basis of a sophisticated laundering

enhancement under § 2S.1.1(b)(3).




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       In response to Eckstein’s objection to the enhancement under § 2S.1.1(b)(3), the United

States concedes that the PSR incorrectly stated that Eckstein created the fictitious companies, but

provides additional facts in support of the enhancement. See Response at 23. First, the United

States contends that “[t]he defendant bragged about how he could issue checks citing fraudulent

work that, in light of his numerous businesses and holdings, would not raise any red flags.”

Response at 23. Eckstein’s “bragging,” however, has no bearing on whether the scheme in fact

involved sophisticated money laundering. The United States further asserts:

       [T]he defendant then cited work that had not yet been performed, but that related
       to holdings or assets that he did, in fact have. By reference work that had not
       been performed by the fictitious companies, but referencing properties or loans
       that actually existed, had this not been a sting operation, the laundering would
       have been very difficult to detect.

Response at 23. In United States v. Jarrett, 2011 WL 6034475 (N.D. Ind. 2011)(Lee, J.), the

defendant created a legitimate company, later received drug proceeds and placed them into the

company’s bank account, and “paid the drug dealers (and the IRS) from that same account.”

2011 WL 6034475, at *5. The defendant “prepared false stock purchase agreements and stock

certificates to make it appear that the deposited money orders and cash were for legitimate

business investments in his corporate account.” 2011 WL 6034475, at *5. Additionally, the

government presented evidence that the defendant “prepared false investment documents to

disguise the nature of his transactions, utilized corporate bank accounts to disguise transactions,

made cash deposits in amounts sufficient to avoid various reporting requirements and gradually

withdrew funds from the accounts to avoid detection.” 2011 WL 6034475, at *5. The District

Court concluded that the scheme was not “sophisticated” under § 2S.1.1(b)(3), because it “was

typical of all money laundering operations. [The defendant] took in dirty money, cleaned it up,




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and kept some for himself.” 2011 WL 6034475, at *5. In the court’s view, the “concealment”

was unsophisticated and typical of money laundering operations. 2011 WL 6034475, at *5.

       As in United States v. Jarrett, this case involves a relatively unsophisticated and typical

money laundering operation. Eckstein “took in dirty money, cleaned it up, and kept some for

himself” before distributing it to the UCE with checks issued by legitimate corporations that he

owned. United States v. Jarrett, 2011 WL 6034475, at *5. Eckstein’s mere reference to “work

that had not been performed” while “referencing properties or loans that actually existed” falls

short of “conduct show[ing] a greater level of planning or concealment than a typical fraud of its

kind.” United States v. Landwer, 640 F.3d at 771. There must be such a thing as “garden-

variety” money laundering if § 2S1.1(b)(3) is to retain any meaning. In the end, if Eckstein’s

money laundering operation qualifies as “sophisticated,” so too does every money laundering

operation. Thus, the Court will sustain Eckstein’s objection to the PSR’s application of a 2-level

enhancement under § 2S1.1(b)(3) for “sophisticated laundering.”

       IT IS ORDERED that the Defendant Jerome Eckstein’s Formal Objections to the

Presentence Report, filed May 26, 2015 (Doc. 929), is sustained in part and overruled in part.

Defendant Jerome Eckstein’s objection to the application of a 2-level enhancement under §

2S1.1(b)(3) for “sophisticated laundering” is sustained and Eckstein’s other objections are

overruled. The Court sentences Eckstein to fifteen months imprisonment, and imposes three-

year term of supervised release.



                                                         ________________________________
                                                         UNITED STATES DISTRICT JUDGE




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